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UN_`LTED STATES DISTRICT (,'OURT

 

 

EASTERN DISTRICT OF NORTH CAROLINA
DEBR_A MORRIS BUTLER,
Plaintiff v
v. JUDGMENT IN A CIVIL,CA§§%)<; l 47

v ~ ' 9
SMITHFIELD FOODS, INC , CASE NO. 4:98-CV-731H§~ 9

Defendant q , t m , ~/'-

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Jury Verdict. This action came before the Court for a trial by
jury. The issues have been tried and the jury has rendered its
Verdict.

X Decision by Court. This action came to trial or hearing before
the Court. The issues have been tried or heard and a decision
has been rendered.

IT IS ORDERED AND.ADJUDGED defendant's motion for summary judgment
is hereby granted and this case is closed.

SO ORDERED - s/Malcolm J. Howard, United States District Judqe.

The Above Judqment filed and entered April 6, 1999 and copies mailed to:

David P. Voerman
Attorney at Law

P.O. Box 12485

New Bern, NC 28561-2485

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Michael C. Lord
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P.O. Drawer 19764
Raleigh, NC 27619

 

April 6c 1999 David W. Daniel
Date ` DAVID W. DANIEL, CLERK

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